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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JAMES C. KISTNER,
                                                              REPORT AND
                                                              RECOMMENDATION
                                      Plaintiff,
v.                                                            1-18-cv-00402-LJV-JJM

CITY OF BUFFALO, BYRON LOCKWOOD,
DANIEL DERENDA, LAUREN
MCDERMOTT, JENNY VELEZ, KARL
SCHULTZ, KYLE MORIARITY, JOHN
DOE(S), DAVID T. SANTANA, and
ANTHONY MCHUGH,

                                      Defendants.



               Familiarity with the relevant facts and procedural history is presumed. Before the

court is plaintiff James C. Kistner’s motion [124] 1 for partial reconsideration my January 11,

2022 Report and Recommendation [108], based on an intervening change in the law. Having

reviewed the motion and defendants’ response [128], for the following reasons I recommend that

the motion be granted.



                                      DISCUSSION

               I recommended that Kistner’s 42 U.S.C. §1983 claim for malicious prosecution of

the criminal mischief charge be dismissed because the state court termination of that charge did

not affirmatively indicate Kistner’s innocence. Report and Recommendation [108] at 22, quoting

Lanning v. City of Glens Falls, 908 F.3d 19, 25 (2d Cir. 2018), which held that the requirement



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        Bracketed references are to CM/ECF docket entries, and page references are to CM/ECF
pagination (top right corner of the page).
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of “affirmative indications of innocence to establish ‘favorable termination’ . . . continue to

govern §1983 malicious prosecution claims”.

               In moving for reconsideration of that recommendation, Kistner relies upon the

Supreme Court’s April 4, 2022 decision in Thompson v. Clark, ___U.S.___, 2022 WL 994329,

which overruled Lanning and held “that a Fourth Amendment claim under §1983 for malicious

prosecution does not require the plaintiff to show that the criminal prosecution ended with some

affirmative indication of innocence. A plaintiff need only show that the criminal prosecution

ended without a conviction”. Id. at *7; Kistner’s April 6, 2022 Letter Brief [124] at 1.

               Responding to the motion, defendants concede that, in light of Thompson, “to

satisfy the favorable termination element of a federal malicious prosecution claim, a plaintiff

need only show that the criminal prosecution ended without a conviction . . . . Because plaintiff

has shown here that the criminal charges against him were dismissed in the interest/furtherance

of justice . . . defendants accept that plaintiff meets the new federal law standard for favorable

termination”. Defendants’ April 12, 2022 Letter Brief [128] at 1.



                                       CONCLUSION

               For these reasons, I recommend that Kistner’s motion for reconsideration [124] be

granted, and that my January 11, 2022 Report and Recommendation [108] be modified to

recommend that Kistner be granted summary judgment against defendants McDermott and

Schultz under 42 U.S.C. §1983 for malicious prosecution of the criminal mischief charge, for the

same reasons that I have recommended granting that relief on his claim for malicious prosecution

under New York law. See Report and Recommendation [108] at 22-23.




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               Unless otherwise ordered by Judge Vilardo, any objections to this Report and

Recommendation must be filed with the clerk of this court by May 16, 2022. See [127]. Any

requests for extension of this deadline must be made to Judge Vilardo. A party who “fails to

object timely . . . waives any right to further judicial review of [this] decision.” Wesolek v.

Canadair Ltd., 838 F.2d 55, 58 (2d Cir. 1988); Thomas v. Arn, 474 U.S. 140, 155 (1985).

Moreover, the district judge will ordinarily refuse to consider de novo arguments, case law, or

evidentiary material which could have been, but were not, presented to the magistrate judge in

the first instance. Patterson-Leitch Co. v. Massachusetts Municipal Wholesale Electric Co., 840

F.2d 985, 990-91 (1st Cir. 1988).

               The parties are reminded that, pursuant to Rule 72(b) and (c) of this Court’s Local

Rules of Civil Procedure, written objections shall “specifically identify the portions of the

proposed findings and recommendations to which objection is made and the basis for each

objection ... supported by legal authority”, and must include “a written statement either certifying

that the objections do not raise new legal [or] factual arguments, or identifying the new

arguments and explaining why they were not raised to the Magistrate Judge.” Failure to comply

with these provisions may result in the district judge's refusal to consider the objections.

Dated: April 12, 2022.

                                                       /s/Jeremiah J. McCarthy
                                                       JEREMIAH J. MCCARTHY
                                                       United States Magistrate Judge




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